    Case: 1:24-cv-00642-BMB Doc #: 18-14 Filed: 07/11/24 1 of 1. PageID #: 218




                STATE BAR OF TEXAS


Office of the Chief Disciplinary Counsel

June 26, 2024



Re: Mr. Jason Lee Van Dyke, State Bar Number 24057426


To Whom It May Concern:

This is to certify that Mr. Jason Lee Van Dyke was licensed to practice law in Texas on February 08,
2007, and is an active member in good standing with the State Bar of Texas. "Good standing" means
that the attorney is current on payment of Bar dues; has met Minimum Continuing Legal Education
requirements; and is not presently under either administrative or disciplinary suspension from the
practice of law.


This certification expires 30 days from the date, unless sooner revoked or rendered invalid by
operation of rule or law.


Sincerely,




Seana Willing
Chief Disciplinary Counsel
SW/web




   P.O. BOX 12487, CAPITOL STATION, AUSTIN, TEXAS 78711-2487, 512.427.1350; FAX: 512.427.4167
